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                                   8                                   UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                                                               SAN JOSE DIVISION
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                                  12     FEDERAL TRADE COMMISSION,                             Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                     Plaintiff,                            ORDER PROPOSING SEALING
                                                                                               PROCEDURES FOR TRIAL
                                  14              v.

                                  15     QUALCOMM INCORPORATED,
                                  16                     Defendant.

                                  17

                                  18          In an effort to manage the use of sensitive third party information at trial, the Court

                                  19   proposes that the parties consider creating a glossary of third party company names and

                                  20   corresponding code names (e.g., “Firm A,” “Firm B,” etc.) to be filed under seal. If the third party

                                  21   information is sufficiently general, such a glossary might enable the parties and the Court to

                                  22   discuss otherwise sealable third party information without having to seal the courtroom. The

                                  23   parties should consult with relevant third parties to see if the Court’s proposal would address the

                                  24   third parties’ confidentiality concerns. In addition, if the parties find that there is another

                                  25   manageable universe of terms for which a coded glossary would be helpful, the parties should so

                                  26   propose. The parties shall file their response to the Court’s proposal by January 2, 2019.

                                  27   IT IS SO ORDERED.

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                                       Case No. 17-CV-00220-LHK
                                       ORDER PROPOSING SEALING PROCEDURES FOR TRIAL
                                         Case 5:17-cv-00220-LHK Document 1012 Filed 12/17/18 Page 2 of 2




                                   1   Dated: December 17, 2018

                                   2                                          ______________________________________
                                                                              LUCY H. KOH
                                   3                                          United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 17-CV-00220-LHK
                                       ORDER PROPOSING SEALING PROCEDURES FOR TRIAL
